        Case 4:18-cv-00103-WTM-CLR Document 38 Filed 05/20/19 Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

MICHAEL BYRNE HELMS,
individually, and as the Executor for the
Estate of DANA HELMS AND J.T.
HELMS,

        Plaintiffs,
   v.                                            Civil Action File No: 4:18cv-103-
                                                 WTM-CLR
MACY’S RETAIL HOLDINGS, INC.,
AN OHIO CORPORATION, AND
JOHN DOE, MANAGER AND
EMPLOYEE OF MACY’S RETAIL
HOLDING INC., AN OHIO
CORPORATION,

        Defendants.

              STIPULATION OF DISMISSAL WITH PREJUDICE

        COMES NOW Plaintiffs Michael Byrne Helms and J.T. Helms, by and

through their attorneys of record, and hereby dismiss with prejudice all of their

claims against Macy’s Retail Holdings, Inc. (hereinafter “Macy’s”) pursuant to the

provisions of Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. The

parties agree that they will not seek costs, interest, or attorney’s fees from each

other and that such dismissal is with each party bearing their own costs and

attorney’s fees.
       Case 4:18-cv-00103-WTM-CLR Document 38 Filed 05/20/19 Page 2 of 5




         Respectfully submitted this 20th day of May, 2019.

 THE EICHOLZ LAW FIRM, P.C.                      DREW ECKL & FARNHAM, LLP


 s/ Kathryn E. Sherry                            s/ Lisa R. Richardson
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8780973/1
07613-132537




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       Case 4:18-cv-00103-WTM-CLR Document 38 Filed 05/20/19 Page 3 of 5




                    CERTIFICATE OF FONT COMPLIANCE

         Counsel for Defendant Macy’s Retail Holdings, Inc. hereby certifies that the

forgoing has been prepared with one of the font and point selections approved by

the Court in LR 5.1(B): Times New Roman (14 point).

         This 20th day of May, 2019.

                                               DREW ECKL & FARNHAM, LLP


                                               s/ Lisa R. Richardson
                                               Lisa R. Richardson
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        Case 4:18-cv-00103-WTM-CLR Document 38 Filed 05/20/19 Page 4 of 5




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION

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   v.                                           Civil Action File No: 4:18cv-103-
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MACY’S RETAIL HOLDINGS, INC.,
AN OHIO CORPORATION, AND
JOHN DOE, MANAGER AND
EMPLOYEE OF MACY’S RETAIL
HOLDING INC., AN OHIO
CORPORATION,

        Defendants.

                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I am counsel for Defendant Macy’s Retail

Holdings, Inc. and that I have this day served the foregoing Stipulation of

Dismissal with Prejudice upon all parties to this matter by filing with the Court’s

CM/ECF system, which will automatically deliver e-mail notification of same to

the following counsel of record:

                                   Kathryn E. Sherry, Esq.
                                   David S. Eichholz, Esq.
                                   The Eichholz Law Firm, P.C.
       Case 4:18-cv-00103-WTM-CLR Document 38 Filed 05/20/19 Page 5 of 5




                                 530 Stephenson Avenue, Suite 200
                                 Savannah, Georgia 31405

         This 20th day of May, 2019.

                                              DREW ECKL & FARNHAM, LLP


                                              s/ Lisa R. Richardson
                                              Lisa R. Richardson
                                              Georgia Bar No. 604074

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